
*1026GOULD, Circuit Judge,
with whom Judges O’SCANNLAIN, RYMER, SILVERMAN, CALLAHAN, and IKUTA join, concurring in Part II and in the result:
Although I am in agreement with the majority that an evidentiary hearing is necessary to determine what was said or decided between the Appellant-Defendant, Karl Frantz, and his standby counsel, Raymond Lamb, in advance of the in camera conference to address the jury’s request to hear the 911 tape, I write separately because I conclude the majority’s rationale is unduly complicated, and intimates conclusions about the scope of the right of self-representation under Faretta v. California, 422 U.S. 806, 95 S.Ct. 2525, 45 L.Ed.2d 562 (1975) and McKaskle v. Wiggins, 465 U.S. 168, 104 S.Ct. 944, 79 L.Ed.2d 122 (1984), without knowledge of the predicate facts.1
Frantz was arrested in Arizona on August 31, 1998, after he allegedly walked into a fast-food restaurant, demanded all the money in the register from cashier Diana Villalobos, threatened to kill Villalo-bos if she did not hand over the money, and finally lifted his shirt to reveal a handgun tucked in the waistband of his pants. The police were called, Frantz left, and shortly thereafter, not far from the restaurant, the police picked up Frantz, who matched the description provided by Villa-lobos, but the alleged handgun was never recovered. Frantz was subsequently indicted for attempted armed robbery. After his initial appointed counsel moved to withdraw, Frantz elected to represent himself and waived appointed counsel. After a hearing, the trial court found Frantz competent to represent himself and appointed Lamb as advisory (standby) counsel.
During a two-day jury trial, Frantz admitted that he had been present at the restaurant, but argued that he was unarmed and that the cashier misinterpreted his actions. Frantz delivered a brief opening statement, examined witnesses, and gave a closing argument. The trial court imposed a restriction that Frantz remain seated to minimize any prejudice where, for security reasons, the trial court had previously found that Frantz needed to be shackled during the proceedings because Villalobos had expressed fear of facing him in the court room. To mitigate any unfairness, the prosecution was likewise required to remain seated while it put on its case. Otherwise during the trial, to facilitate admitting items into evidence and the use of exhibits, the trial judge permitted Lamb to approach the bench or the witness stand at Frantz’s direction. Also due to the shackling issue, Lamb participated at sidebar conferences. In addition, Lamb occasionally assisted with objections and offered suggestions about overcoming momentary impasses while Frantz questioned witnesses. During the trial, the trial judge referred to Frantz as “Counsel” or “Mr. Frantz.”
After the parties rested and the case was submitted to the jury, the jury requested that it be permitted to hear the 911 tape that recorded the restaurant *1027manager’s call to the police, in . which the manager relayed the firsthand account by Villalobos, who was on the floor of the restaurant at the time, that Frantz was armed and threatening to shoot people if he was not given money. During trial, Frantz had twice sought to admit this tape because the manager also made reference in the call to Frantz as “blond” (again based on Villalobos’s account) though Frantz describes himself as having “gray” hair, a purported inconsistency that Frantz believed was exculpatory despite the fact that he asserted no misidentification defense. The trial court initially had rejected Frantz’s motions, apparently on grounds that the tape was hearsay because the manager was not in a position to see Frantz and was only relaying Villalobos’s account.2 Although the trial court was ultimately prepared to admit the tape upon a third motion, Frantz then withdrew his request for unknown reasons.
The jury’s request to hear the tape during its deliberation necessitated an in camera conference. At the time, Frantz was in a holding cell awaiting the verdict, and Lamb attended the conference. The prosecution had no objection to playing the tape and the trial judge appears to have been willing to let the jury hear it, but Lamb told the trial judge that Frantz “doesn’t want it in.” Frantz and the State now give conflicting accounts as to whether Lamb told Frantz that the jury wanted to hear the tape; whether, if so, the request was fully explained; and whether Frantz told Lamb that he did not want the jury to hear the tape. In any event, without hearing the tape, the jury convicted Frantz.
The majority rightly concludes that remand is necessary to determine what transpired between Frantz and Lamb. In Faretta, the Supreme Court considered a rejection of a defendant’s request to represent himself where the trial court relied on California Supreme Court precedent holding that a criminal defendant had no right to self-representation under the state and federal constitutions. 422 U.S. at 809-12, 810 n. 4, 811 n. 6, 95 S.Ct. 2525. This posed a dilemma for the Supreme Court because its prior precedents in Argersinger v. Hamlin, 407 U.S. 25, 92 S.Ct. 2006, 32 L.Ed.2d 530 (1972), Gideon v. Wainwright, 372 U.S. 335, 83 S.Ct. 792, 9 L.Ed.2d 799 (1963), Johnson v. Zerbst, 304 U.S. 458, 58 S.Ct. 1019, 82 L.Ed. 1461 (1938), and Powell v. Alabama, 287 U.S. 45, 53 S.Ct. 55, 77 L.Ed. 158 (1932), consistently had held that “the help of a lawyer is essential to assure the defendant a fair trial.” Faretta, 422 U.S. at 832-33, 95 S.Ct. 2525. In Faretta, however, the Supreme Court concluded that an independent right to self-representation was implied in the text, structure, and history of the Sixth Amendment. Id. at 818-32, 95 S.Ct. 2525. The Supreme Court, in balancing these constitutional considerations, required that a criminal defendant, who elects to represent himself or herself, must “knowingly and intelligently” waive the benefits of a right to counsel. Id. at 835, 95 S.Ct. 2525 (internal quotation marks omitted).
As for the structure of the Sixth Amendment, the Supreme Court held that the “compact statement of the rights necessary for a full defense ... is given directly to the accused,” and not counsel, which provides for a personal right to defend oneself because it is the defendant “who suffers the consequences if the defense fails.” See id. at 818-19, 95 S.Ct. 2525. From this structure, the Supreme Court *1028further concluded that “the language and the spirit of the Sixth Amendment contemplate that counsel, like other defense tools guaranteed by the Amendment, shall be an aid to a willing defendant....” Id. at 820, 95 S.Ct. 2525. Historically, many colonies had recognized a right of self-representation, and it was probably in those days hard to imagine the idea that the state would forbid a person from representing himself. See id. at 832, 95 S.Ct. 2525. In the long course of English common law history, a right of self-representation had been denied only in the dreaded Star Chamber that was at its height during the Tudor and Stuart monarchies. Id. at 821 n. 17., 95 S.Ct. 2525 In view of this history, the Supreme Court reasoned that to “force a lawyer on a defendant can only lead him to believe that the law contrives against him.” Id. at 834, 95 S.Ct. 2525.
Although the Supreme Court observed that a defendant representing himself or herself would likely not do as well as one aided by counsel, it upheld the right of self-representation despite such consequences because of the respect for the individual that animated the law. Id. Three justices expressed a contrary view in dissent, but the Faretta right of self-representation has thus far withstood the test of time.
In Faretta, the Supreme Court left open what role might be taken by standby counsel. See id. at 834 n. 46, 95 S.Ct. 2525 (“Of course, a State may — even over objection by the accused — appoint a ‘standby counsel’ to aid the accused if and when the accused requests help, and to be available to represent the accused in the event that termination of the defendant’s self-representation is necessary.”).
In McKaskle v. Wiggins, the Supreme Court developed the contours of the standby counsel’s role in relation to the defendant’s Faretta right to proceed pro se, in instances where the standby counsel’s help was not requested by the self-represented defendant, concluding that “Faretta’s logic ... indicated] that no absolute bar on standby counsel’s unsolicited participation is appropriate or was intended.” 465 U.S. 168, 176, 104 S.Ct. 944, 79 L.Ed.2d 122 (1984) (emphasis added). As the majority recognizes, even unrequested participation by standby counsel outside the presence of the jury is permissible as long as this participation does not subvert the core principles that undergird the Faretta right:
[T]he pro se defendant is entitled to preserve actual control over the case he chooses to present to the jury.... If standby counsel’s participation over the defendant’s objection effectively allows counsel to make or substantially interfere with any significant tactical decisions, or to control the questioning of witnesses, or to speak instead of the defendant on any matter of importance, the Faretta right is eroded.
Thus, Faretta rights are adequately vindicated in proceedings outside the presence of the jury if the pro se defendant is allowed to address the court freely on his own behalf and if disagreements between counsel and the pro se defendant are resolved in the defendant’s favor whenever the matter is one that would normally be left to the discretion of counsel.
Id. at 178-79, 104 S.Ct. 944 (emphasis added). In short, the right to self-representation under Faretta and McKaskle may be violated by overly intrusive “unsolicited participation” by counsel, see id. at 183, 104 S.Ct. 944, or if “disagreements ” between the defendant and standby counsel are not resolved in the defendant’s favor. See id. at 179, 104 S.Ct. 944 (emphasis added). But if a pro se defendant and a willing standby counsel are in agree*1029ment regarding trial strategy, I do not read McKaskle as limiting the defendant’s ability to delegate any chores of trial to standby counsel. That seems to be the result contemplated by Faretta itself, which anticipated standby counsel’s use when, and to the extent, a pro se defendant requests help. See Faretta, 422 U.S. at 834 n. 46, 95 S.Ct. 2525.
I agree with the majority that at this stage in the proceedings, and absent an evidentiary hearing, we may not disregard the State’s factual assertions that Lamb acted under Frantz’s direction and with Frantz’s consent at the in camera conference. Although the record before the district court does not provide a clear picture of any consultation between Lamb and Frantz, the state court in a minute order made an express finding in the post-conviction context that after the jury requested to hear the 911 tape, and before advising the trial court of Frantz’s position, “[ajdvisory counsel consulted with the Petitioner and advised the court that the Petitioner did not wish the tape to be played.” It is true that Frantz had twice sought to admit the 911 tape during the trial, but as the majority points out, Frantz ultimately withdrew this request. That Frantz did not want the 911 tape in evidence before the case was submitted to the jury is consistent with Lamb’s portrayal of Frantz’s view at the in camera conference. Like the state court’s minute order, the federal district court also made a specific finding that: “Advisory counsel consulted with Petitioner and told the court that the petitioner did not want the tape to be played.”
The significant import of these findings — that some consultation took place— is supported by Frantz’s own inconsistent statements in his state petition for post-conviction relief and need not be invalidated because the Court of Appeals of Arizona later reversed the trial court’s summary denial of Frantz’s McKaskle claim as “improperly based.” In reversing, the appellate court noted that Frantz attached an affidavit to the petition, dated January 3, 2002, which stated that “advisory counsel, Ray Lamb, did not tell me the jury wanted to hear the 911 tapes, nor to have them played to the jury.” It is no doubt correct, as the Arizona appellate court concluded, that Frantz asserted a “colorable” claim in light of his affidavit, which the Pima County trial court should not have summarily denied.
The Arizona appellate court erred by denying Frantz’s Faretta claim under harmless error analysis instead of first determining the facts and then using structural error analysis, if the Faretta right was violated. See McKaskle, 465 U.S. at 177, 104 S.Ct. 944. The appellate court should have remanded to the Pima County trial court for an evidentiary hearing which would have made clear whether the Faretta right was or was not violated. Indeed, this case now requires no complex analysis: If Frantz told standby counsel how to handle the bench conference concerning the jury’s question about reading the 911 tape, then there is simply no Far-etta violation whatsoever because a self-representing defendant may properly use standby counsel to assist in defense. Similarly, if Frantz directed standby counsel concerning the conference, then there is no McKaskle issue because McKaskle merely sets guidelines for when standby counsel may act without the assent of the self-representing defendant.
I have a sense of unease about the majority opinion, insofar as it may read McKaskle too expansively. In a case where a self-representing defendant has directed standby counsel to assist, McKas-kle does not require that a criminal must “speak for himself,” as the majority appears to characterize that case. See Majority Opinion at 1021. Instead, McKas-*1030kle imposes its limits on the “unsolicited participation” of standby counsel. 465 U.S. at 178, 104 S.Ct. 944 (emphasis added). This rule suggests that standby counsel may not usurp the role of the pro se defendant who otherwise wants to participate directly in some stage of the proceedings. McKasMe does not prohibit a criminal defendant from delegating certain tasks to standby counsel. See id. (“[T]he objectives underlying the right to proceed pro se may be undermined by unsolicited and excessively intrusive participation by standby counsel.”) (emphasis added). Cf. United States v. Mills, 895 F.2d 897, 903 (2d Cir.1990) (recognizing that Faretta right was not eroded where pro se defendant conceded that standby counsel took no “action that was not authorized by Mills or adopted any strategy or position that was not initiated by Mills”).
I part company with the majority’s rationale insofar as it suggests that if Frantz had told Lamb what to do about the tape, but had not explicitly addressed participation in the chambers conference, there would be a violation of Faretta and McKasMe. In my view, so long as Frantz adequately instructed Lamb concerning the tape, there is no violation. We should not be hostile to the ability of a pro se defendant to delegate trial tasks to standby counsel. I also part company with the majority’s rationale insofar as it says that there “may have been” a Faretta and McKasMe violation without recognizing that there may well not have been. We would be better advised to determine difficult legal issues with the predicate issues fully developed, rather than indulging in a bias toward a particular result before the trial court has engaged in the necessary fact finding.
Here, Lamb participated in all the sidebar conferences without Frantz, which the trial judge deemed necessary for security reasons, without objection from Frantz. Given the absence of pertinent evidence, Frantz may well have delegated to Lamb the responsibility of attending the in camera conference and conveying his position that the 911 tape not be given to the jury. That is indeed what counsel Lamb says occurred. There is no McKasMe error if Lamb had received Frantz’s authority to speak at the conference. The record in its current state just does not inform us adequately about the circumstances of Frantz’s absence from the in camera conference. But an evidentiary hearing is being ordered for exactly these reasons— to fill in the gaps in the record and resolve the competing factual accounts. That being so, I am at a loss to understand why the majority wishes to speak at length on what may be the case, rather than awaiting the factual determinations that are being ordered and then assessing the law of Faretta and McKasMe in light of the determined facts.
The majority seems to suggest that even if Frantz consulted with Lamb about the jury’s request, Lamb might not be able to participate in the conference without infringing Frantz’s rights to self-representation. Again, I think a simple analysis is dispositive: If Lamb was authorized by Frantz to attend the conference and state his position on the 911 tape, then there is no issue under Faretta or McKasMe. Conversely, if Lamb accurately conveyed the position of Frantz on the tape, but Frantz had not asked Lamb to attend the conference, then a square issue is presented whether standby counsel’s bench conference attendance offends Faretta and McKasMe. In my view, that issue should be reached, if required, after the relevant facts are fully determined. I cannot join the majority, in part, because it insists on elaborating on such issues prematurely. See Majority Opinion at 1019 (“Frantz’s exclusion resulted in a complete silencing *1031of Frantz’s voice on the matters.”) (emphasis added).
If the majority is suggesting that Frantz could not use Lamb at the bench conference, then that position misinterprets the permissible role of a standby counsel, who may handle any duties delegated by a self-representing defendant.3 Instead, the defendant is representing himself or herself when he or she delegates a task to a standby counsel and assents to being assisted to that extent.4
We should keep in mind that broadly speaking, there are two distinct purposes of a standby counsel. One is to “stand by” and be ready to proceed if the defendant should choose to cease self-representation, or if there is any other reason why self-representation cannot continue. The second purpose of a standby counsel is to help a self-representing defendant if, and to the extent, assistance is requested. As discussed above, the Supreme Court in Faretta expressly recognized both these applications, see 422 U.S. at 834 n. 46, 95 S.Ct. 2525, even though it left the precise scope of standby counsel’s role not fully charted. In the wake of Faretta, however, federal courts have adopted both these rules in delineating standby counsel’s role. See, e.g., United States v. Gomez-Rosario, 418 F.3d 90, 96-97, 102 (1st Cir.2005) (holding that district court could, consistent with Faretta, require that standby counsel screen pro se defendant’s motions to “facilitate the orderly functioning of the proceedings” after the unassisted defendant deluged the district court with nearly 100 long and frivolous motions); United States v. Lawrence, 161 F.3d 250, 252 (4th Cir.1998) (recognizing, where standby counsel was initially restricted to procedural matters only and self-representing defendant suddenly decided to absent himself from court room at the outset of trial, that standby counsel’s role could be extended “to include a substantive discussion of the implications of waiving his right to be present at his own trial”); United States v. Tarantino, 846 F.2d 1384, 1420 (D.C.Cir.1988) (acknowledging implicitly defendant’s ability to delegate tasks to standby counsel within district court’s discretionary authority to accept “some sort of hybrid form of representation, whereby both he and his appointed counsel would be permitted to examine witnesses, make objections, and argue motions,” even though defendant “did not have a constitutional right under the Sixth Amendment to combine self-representation with representation by counsel”). The key inquiries under Faretta and McKaskle hinge on the uncertain factual questions of whether Frantz objected to his exclusion from the in camera conference, and whether he requested or consented to the position Lamb conveyed there. If Lamb accurately relayed *1032Frantz’s position, and if Frantz asked Lamb to attend the bench conference, the role of standby counsel at that point concerned only the task of informing the trial court that Frantz did not wish to have the 911 tape played. Viewed in this light, Lamb’s ancillary assistance to the trial judge in fashioning a response to deny the jury’s request can be considered akin to one of “overcoming routine procedural or evidentiary obstacles to the completion of some specific task, such as introducing evidence or objecting to testimony, that the defendant has clearly shown he wishes to complete.” McKaskle, 465 U.S. at 183, 104 S.Ct. 944.
The Supreme Court in McKaskle held that a Faretta error is structural and that it cannot be shown to be harmless. See 465 U.S. at 177, 104 S.Ct. 944. Because the Supreme Court reasoned in Faretta that self-representation would often be to the detriment of a defendant, see 422 U.S. at 834, 95 S.Ct. 2525, it would destroy the right if, after the fact of denial, courts could simply find that the defendant was not harmed because he or she would have done better with counsel. Here, it would not be Faretta or McKaskle error if, in an evidentiary hearing, it were determined that Frantz had consented to standby counsel Lamb’s handling the in camera conference at Frantz’s direction. On the other hand, because the conference was an important stage of the proceedings, if Frantz did not direct Lamb to handle the conference for him, but merely gave him his views on the 911 tape, then a square and difficult issue will be presented whether Frantz’s Faretta rights, as clarified in McKaskle, were violated.
Faretta and McKaskle strike a delicate balance between the probable negative impact of self-representation on the quality of a defense, and the superordinate interest in honoring the respect for individual choice that animated Faretta. Thus, if Frantz chose to communicate a position through standby counsel Lamb at the bench conference, that choice should be respected.

. I have a concern whether the majority's discussion of the scope of review in Part II of the majority opinion is, in a practical sense, necessary at this stage. Simply stated, if on remand it is determined that Lamb attended the bench conference and acted there with Frantz’s specific direction and approval, Frantz would have no basis for relief under either the AEDPA standard, 28 U.S.C. § 2254(d), or a de novo review of the issue not addressed by the state court. In this sense, the majority's expatriation on the scope of review might appear to be gratuitous. However, I join Part II because I agree with the substantive analysis and because our prior cases on this issue are somewhat in disarray, yielding a value for the en banc court to resolve the issue.


. I say "apparently” because the state trial court did not make an explicit ruling grounding the exclusion of the evidence on the hearsay rule, although before rejecting Frantz’s request the tape be admitted the state trial court expressed concerns that it was hearsay.


. In such a case, no formal waiver analysis is required, because there is no affront to the scope of self representation recognized in Far-etta. When a self-representing defendant requests the assistance of an available standby counsel, courts have not required a separate "waiver” analysis before each and every task is delegated by a defendant to a standby counsel. There must be a knowing waiver of the right to counsel before self-representation can proceed, but in Faretta, sensitive to the undeniable fact that many self-representations would be detrimental to the accused without the guiding light of counsel, the Faretta court made it as clear as can be that the state could provide a standby counsel. When a self-representing defendant asks a standby counsel to handle anything, there is no need to burden the court procedures with a task- — oriented waiver analysis.


. Whether or not this kind of delegation might be characterized as "hybrid” representation, the Supreme Court has considered it permissible even though a pro se defendant may not insist on it by right. See McKaskle, 465 U.S. at 183, 104 S.Ct. 944 ("Faretta does not require a trial judge to permit 'hybrid' representation of the type Wiggins was actually allowed.”).

